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                       EXHIBIT A

                      Revised Order
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                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

          Debtors.                                              (Jointly Administered)

                                                                Ref. Nos. 2508, 2712 & 2725



           SECOND ORDER AUTHORIZING THE MOVANTS TO REDACT OR
         WITHHOLD CERTAIN CONFIDENTIAL INFORMATION OF CUSTOMERS

                  Upon the joint motion (the “Motion”) 2 of FTX Trading Ltd. and its affiliated

debtors and debtors-in-possession (collectively, the “Debtors”) and the Official Committee of

Unsecured Creditors appointed in the above-captioned cases (the “Committee” and, together with

the Debtors, the “Movants”) for entry of an order (this “Order”) authorizing the Movants to

redact the names, addresses and e-mail addresses of the Debtors’ customers from any filings with

the Court or made publicly available in these Chapter 11 Cases; and this Court having jurisdiction

to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order

of Reference from the United States District Court for the District of Delaware, dated February 29,

2012; and this Court being able to issue a final order consistent with Article III of the United States

Constitution; and venue of these Chapter 11 Cases and the Motion in this district being proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core proceeding pursuant to 28

U.S.C. § 157(b); and this Court having found that proper and adequate notice of the Motion and


1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion.


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the relief requested therein has been provided in accordance with the Bankruptcy Rules and the

Local Rules, and that, except as otherwise ordered herein, no other or further notice is necessary;

and a hearing having been held to consider the relief requested in the Motion and upon the record

of the hearing and all of the proceedings had before this Court; and this Court having found and

determined that the relief set forth in this Order is in the best interests of the Debtors and their

estates; and that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and after due deliberation and sufficient cause appearing therefor;

                  IT IS HEREBY ORDERED THAT:

                  1.    The Motion is GRANTED as set forth herein.

                  2.    The Debtors and the Committee are each authorized, pursuant to

section 107(b)(1) of the Bankruptcy Code, to redact the names, addresses and e-mail addresses of

all of the Debtors’ customers from all filings with the Court or made publicly available in these

Chapter 11 Cases; provided, however, that the authorization pursuant to section 107(b)(1) to redact

the names of all customers, and to redact the names, addresses and e-mail addresses of customers

who are not natural persons, is only until the date that is 90 days from the date of the entry of this

Order (such date, the “Extended Redaction Deadline”); provided, further, that the authorization to

redact the names of customers, whether they are natural persons or entities, and the addresses of

customers who are not natural persons, is limited to those documents in which disclosure would

indicate the status of such person or entity as a customer.

                  3.    The right of the Debtors, the Committee, and all other parties-in-interest to

seek an extension of the Extended Redaction Deadline, or to request authorization to redact any

personal information of customers, creditors or equity holders on any other grounds, are reserved.




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                  4.   Other than as to the Extended Redaction Deadline set forth in paragraph 2

and referenced in paragraph 7 of the First Extension Order, nothing in this Order alters or modifies

any provision of the Original Order or the First Extension Order. Both the Original Order and the

First Extension Order remain in full force and effect.

                  5.   Each of the Movants are authorized and empowered to execute and deliver

such documents, and to take and perform all actions necessary to implement and effectuate the

relief granted in this Order.

                  6.   This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Motion or the implementation of this Order.



 Dated:
           Wilmington, Delaware                       The Honorable John T. Dorsey
                                                      United States Bankruptcy Judge




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